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 8                           UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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11   FIDEL HERNANDEZ,                       Case No.: 2:21-cv-00131 PA (RAOx)
12                                          ORDER GRANTING DISMISSAL
                Plaintiff,                  OF THE ENTIRE ACTION
13

14        vs.

15   SHUI KWAN AU; and DOES 1 to 10,
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                                     [PROPOSED] ORDER
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 1         Based on the request from Plaintiff and for good cause shown:
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 3         IT IS HEREBY ORDERED that the entire action be dismissed without
 4

 5   prejudice.
 6

 7         SO ORDERED.
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 9         DATED: April 23, 2021                  _______________________________
10                                                United States District Court Judge

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                                      [PROPOSED] ORDER
